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                               FOR THE F OURTH C IRCUIT


                                             No. 22-4489


                              U NITED S TATES OF A MERICA ,
                                               Appellee,
                                                   v.

                                    O KELLO T. C HATRIE ,
                                              Appellant.


                               Appeal from the United States District Court
                             for the Eastern District of Virginia at Richmond
                            The Honorable M. Hannah Lauck, District Judge


                                B RIEF   OF THE    U NITED S TATES


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                                               Introduction

              Defendant Okello Chatrie robbed a bank at gunpoint near Richmond,

        Virginia, and got away with nearly $200,000. He carried a cell phone with him,

        and investigators later identified him as the robber using a Google geofence

        warrant: a warrant requiring Google to disclose its records of location information

        for cellular devices present at a specified place and time. This investigative

        technique supplies investigators with a new source of crime-scene evidence

        comparable to traditional video surveillance tapes.

              Based on an affidavit that stated that the robber possessed a cellular phone

        during the robbery and that explained why it was likely that Google would have

        information regarding that phone’s location, a Virginia magistrate found probable

        cause to believe that Google possessed evidence of the robbery, and he issued a

        geofence search warrant. The warrant authorized the government to obtain from

        Google two hours of location information associated with electronic devices that

        were within 150 meters of the site of the bank robbery during a one-hour interval

        containing the robbery. This circle included both the bank and nearby parking

        areas; it avoided major roads.

              The warrant required the government to follow a three-step process. First,

        the warrant directed Google to disclose to the government location coordinates (but

        not identity information) for devices present in the targeted area within the hour of


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        the robbery. Second, the warrant directed law enforcement to attempt to narrow

        down devices of interest by comparing the location coordinates Google produced

        with the facts of the robbery, and it directed Google to disclose location

        coordinates for the resulting set of devices during a two-hour period that

        encompassed the robbery. Third, the warrant directed that law enforcement use

        this additional information to further attempt to narrow down the devices of

        interest, and it directed Google to disclose identifying information for those

        devices. Pursuant to the warrant, Google produced one hour of location

        information for 19 devices, two hours of location information for nine, and identity

        information for three. From this information, investigators identified Defendant

        and solved the robbery.

              The district court denied Defendant’s motion to suppress the information

        that the government obtained pursuant to the geofence warrant, and Defendant

        ultimately pleaded guilty to two robbery-related counts, reserving his right to

        appeal the district court’s denial of his suppression motion. This Court should

        affirm the district court's decision for three independent reasons: (1) Defendant had

        no protected Fourth Amendment interest in the geofence information; (2) the

        geofence warrant satisfied the Fourth Amendment’s requirements for search

        warrants; and (3) officers relied in good faith on the warrant.




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                                    Statement of Jurisdiction

              Defendant appeals from a judgment of conviction in a criminal case. The

        district court had jurisdiction under 18 U.S.C. § 3231 and entered judgment on

        August 19, 2022. JA1449. Defendant filed a timely notice of appeal on August

        25, 2022. JA1456; see Fed. R. App. P. 4(b)(1)(A)(i). This Court has jurisdiction

        to review the judgment of conviction under 28 U.S.C. § 1291.

                                          Issue Presented

              Whether the district court correctly declined to suppress information that

        Google disclosed to the government pursuant to a geofence warrant that authorized

        disclosure of location and identity information associated with cellular devices

        present at the site of an armed bank robbery.




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                                      Statement of the Case

              In 2019, a grand jury in the Eastern District of Virginia issued a two-count

        indictment charging defendant with forced accompaniment during an armed credit

        union robbery, in violation of 18 U.S.C. §§ 2113(a), 2113(d), and 2113(e), and

        with using, carrying, and brandishing a firearm during and in relation to a crime of

        violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(i) and (ii). JA22-JA24. The

        counts were based on Defendant’s robbery of the Call Federal Credit Union in

        Midlothian, Virginia. JA22.

              Defendant filed a motion to suppress evidence that Google disclosed to the

        government pursuant to a geofence warrant, JA1071-JA1116, and the district court

        denied the motion. JA1327-JA1390. Defendant pleaded guilty to a two-count

        information; the plea preserved his right to appeal the denial of the geofence

        suppression motion. JA1391-JA1393; JA1428-JA1448. Defendant was convicted

        of armed credit union robbery, in violation of 18 U.S.C. §§ 2113(a) and 2113(d),

        and using, carrying, and brandishing a firearm in relation to a crime of violence, in

        violation of 18 U.S.C. §§ 924(c)(1)(A)(i) and (ii). JA1449. The court sentenced

        Defendant to 141 months’ imprisonment and 3 years’ supervised release. JA1450-

        JA1451.

              A.     Defendant robbed the Call Federal Credit Union.

              At approximately 4:50 pm on May 20, 2019, Defendant entered the Call

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        Federal Credit Union in Midlothian, Virginia. JA112, JA1025, JA1444. He held a

        cell phone to his face and appeared to be speaking to someone. JA112, JA1025.

        He approached a teller and presented a note that read, in part, “I got your family as

        hostage and I know where you live, If you or your coworker alert the cops or

        anyone your family and you are going to be hurt.... I need at least 100k.” JA112.

              After the teller replied that she did not have access to that amount of money,

        Defendant pulled out a firearm. JA112, JA1026. He forced everyone to the

        ground at gunpoint and escorted the manager and others to the vault in the back.

        JA112, JA1026. He forced the manager to open the safe and place $195,000 into a

        bag. JA112. He then fled. JA112; JA1026-JA1027.

              B.     The magistrate issued a geofence warrant for specified
                     location information associated with the robbery of the
                     Call Federal Credit Union.

              Following the robbery, Federal Bureau of Investigation Task Force Officer

        (“TFO”) Josh Hylton responded to the scene to investigate. JA1024. Because the

        robber had carried a phone, TFO Hylton knew that there was a possibility that the

        robber might have worked with others, such as a lookout or a driver. JA112,

        JA1027. He also knew that Google could have information that would show the

        robber’s phone was in the area at the time of the robbery. JA112-JA113, JA1027.

        On three prior occasions, after consulting with prosecutors, TFO Hylton had

        obtained geofence warrants directed to Google. JA1020-JA1021. A geofence

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        warrant requires Google to disclose information about Google users whose

        Location History indicates their devices were in a specified area during a specified

        time. JA1558.

              On June 14, 2019, TFO Hylton sought and obtained a geofence warrant from

        the Chesterfield Circuit Court of Virginia. JA107-JA117. His statement of

        probable cause began by describing the facts of the robbery, including that before

        the robbery, the robber held a cell phone to his ear and appeared to be speaking

        with someone. JA112. The statement then explained why there was reason to

        believe that Google would have evidence pertaining to the robbery. JA113.

        Among other facts, the statement disclosed that: (1) as of 2013, 56% of cell

        phones were smartphones; (2) “[n]early every” Android phone “has an associated

        Google account”; (3) Google “collects and retains location data” from such devices

        when the account owner enables Google location services; and (4) Google collects

        location information from non-Android smartphones if the devices are “registered

        to a Google account and the user has location services enabled.” JA113.

        Magistrate David Bishop issued the geofence warrant upon a finding of probable

        cause. JA114.

              The geofence warrant specified a geographical area, identified as a circle of

        radius 150 meters around a specific latitude and longitude point near the bank.

        JA117. It covered the bank and nearby parking areas, some of which belonged to a


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        nearby church that also fell within the geofence, and it went up to but did not reach

        major roads. JA117. It authorized disclosure of location information over a two-

        hour interval (from 3:50 pm to 5:50 pm) from accounts associated with devices

        within this target area at some point during a one-hour interval that included the

        robbery (from 4:20 pm to 5:20 pm). JA116, JA117. The warrant also authorized

        disclosure of specified customer identity information associated with these

        accounts, including usernames and email addresses. JA117.

              The warrant authorized this disclosure through a three-step process that

        enabled law enforcement to narrow down the information disclosed by Google and

        thus obtain less than the maximum amount of information covered by the warrant.

        JA116. The warrant directed that in the first step, Google would disclose

        anonymized location information for devices present in the target area during the

        hour of the robbery, but not the identity information associated with the devices.

        JA116. In particular, the warrant directed that Google disclose “a numerical

        identifier for the account, the type of account, time stamped location coordinates

        and the data source that this information came from if available.” JA116.

              In the second step, the warrant directed law enforcement to review the

        anonymized location information produced by Google and “attempt to narrow

        down the list by reviewing the time-stamped location coordinates for each account

        and comparing that information against the known time and location” of the


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        robbery. JA116. After law enforcement provided the updated list to Google, the

        warrant directed that Google then disclose location information for those accounts

        over the full two-hour interval, both within and outside of the target area, but again

        without disclosing user identity information. JA116-JA117. In the third step, the

        warrant directed that law enforcement again attempt to narrow down the accounts

        that remained of interest, and that Google disclose username and other specified

        subscriber identity information for those accounts. JA117.

              Investigators followed this three-step process in executing the warrant.

        JA950-JA967. In the first step, Google provided 209 data points concerning 19

        accounts (including 36 points from Defendant’s account), all within the 150-meter

        circle and during the hour of the bank robbery. JA951-JA952, JA2000, JA2002,

        JA2098-JA2104. For each data point, Google produced a device ID, date and time,

        latitude and longitude coordinate, source of information (wi-fi or GPS), and “map

        display radius.” JA1997. “Map display radius” is a measure of Google’s

        confidence in the accuracy of its location information; Google’s aim is to capture

        roughly 68% of users within the circle defined by its location estimate and the map

        display radius. JA629, JA1559-JA1560. To identify responsive information,

        Google ran a computation against all stored Location History coordinates to

        determine which ones matched the geofence parameters. JA1559.

              By reviewing the step 1 data in conjunction with witness interviews and


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        video surveillance tapes, investigators concluded that Defendant’s device likely

        belonged to the robber. JA966-JA967.

              In the second step, TFO Hylton, in consultation with federal prosecutors,

        initially asked Google for data regarding all 19 accounts, but Google was

        nonresponsive. JA1039, JA2038. Concerned about the danger that the robber

        posed to the public, TFO Hylton called Google, and he ultimately narrowed the

        second-stage production to nine accounts. JA1039, JA2042. Google produced two

        hours of location data for each of these accounts—a total of 680 data points,

        including 94 from Defendant’s account. JA2006, JA2109-JA2129. This

        information showed Defendant’s presence at the bank and his movement on public

        roads. JA956-JA960, JA2008.

              In the third step, TFO Hylton directed Google to disclose subscriber

        information for three accounts, including the account of Defendant. JA960,

        JA2134-JA2137. This information included Defendant’s email address. JA961.

              C.    Defendant opted in to Google storage of his Location
                    History and agreed Google could use his information in
                    accordance with its privacy policies.

              Google Location History allows users “to keep track of locations they have

        visited while in possession of their compatible mobile devices.” JA1552-JA1553.

        Google uses Location History to provide location-based services to users: for

        example, users can obtain “recommendations based on places they have visited, get

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        help finding their phones, and receive real-time traffic updates about their

        commutes.” JA764, JA1553.

              According to Google Location History Product Manager Marlo McGriff,

        Location History information is the only information stored by Google that can be

        responsive to a geofence warrant, because it is the only information stored by

        Google that is associated with specific users and sufficiently granular to be

        responsive. JA795-JA796, JA1558-JA1559. Google also uses Location History in

        multiple ways for advertising purposes. JA612-JA614, JA977-JA978, JA1555. It

        uses “radius targeting,” which targets ads to users based on their proximity to a

        particular business. JA614. It uses location information to measure “store visit

        conversions”—how many customers who saw a particular ad went on to visit a

        relevant store. JA612-JA613, JA1555. It infers users’ interests from where they

        visit, and it uses that “semantic location information” to target advertising to users.

        JA1553, JA1555. A Google user may review, edit, or delete Location History

        information. JA738, JA805, JA833, JA1556. A Google user may also stop

        collection of Location History information. JA833.

              Google’s logs show that on July 9, 2018, Defendant opted in to the Location

        History service. JA1563, JA1577. Google’s Location History service is off by

        default; a user must explicitly opt in to the service. JA1553. In 2019,

        approximately one-third of active Google users had Location History enabled.


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        JA804, JA1555.

                Location History Product Manager McGriff declared that on July 9, 2018, a

        user could not opt in without following Google’s “supported consent flow,” a term

        that refers to the “the steps and consent text necessary to opt in” to the Location

        History service. JA1564, JA793. Under the supported consent flow, Google

        presented the user with the following text:

                Location History

                Saves where you go with your devices

                This data may be saved and used in any Google service where you were
                signed in to give you more personalized experiences. You can see your data,
                delete it and change your settings at account.google.com.

                NO THANKS                TURN ON

        JA1564.1 Regardless of the application or service a user was using, a user could

        not opt in to Location History on July 9, 2018, without encountering this consent

        flow text and tapping “TURN ON.” JA1566, JA713-JA715. Google’s logs do not

        indicate the particular application or opt-in screen Defendant used to opt in to

        Location History. JA1564.


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             Along with this text, Google presented an expansion arrow to the user that the
        user could tap to obtain additional information about Location History. JA1565.
        Among other information, this expanded Location History text stated: “This data
        helps Google give you more personalized experiences across Google services, like
        a map of where you’ve been, tips about your commute, recommendations based on
        places you’ve visited, and useful ads, both on and off Google.” JA1565.

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               Google records also showed that Defendant created the email account

        Okellochatrie55@gmail.com on August 20, 2017. JA1562, JA1575. At that time,

        he agreed to Google’s terms of service, which specified that Google could use data

        “in accordance with [Google’s] privacy policies.” JA799, JA2083.2 Google’s

        Privacy Policy in effect on the date of the bank robbery included the following:

               We collect information about your location when you use our services,
               which helps us offer features like driving directions for your weekend
               getaway or showtimes for movies playing near you....

               The types of location data we collect depend in part on your device and
               account settings. For example, you can turn your Android device’s location
               on or off using the device’s settings app. You can also turn on Location
               History if you want to create a private map of where you go with your
               signed-in devices....

               We use the information we collect in existing services to help us develop
               new ones....

               For example, you can turn on Location History if you want traffic
               predictions for your daily commute.

        JA2051-JA2053, JA2056.

               D.    The district court denied Defendant’s motion to suppress.

               Defendant filed a motion to suppress the geofence warrant and its fruits.

        JA1071. He argued that (1) he had a reasonable expectation of privacy in his


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              The terms of service available at that time are also available at
        https://policies.google.com/terms/archive/20140414. Location History Product
        Manager McGriff stated that evidence of Google’s privacy policy and terms of
        service could be found online. JA803.

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        Location History information; (2) the geofence warrant was an unconstitutional

        general warrant; and (3) the good faith exception did not apply. JA1089-JA1115.

        Regarding good faith, Defendant explicitly disclaimed any challenge to the warrant

        based on Franks v. Delaware, 438 U.S. 154 (1978). JA1115.

               After multiple rounds of briefing from the United States and Defendant,

        amicus briefing and affidavits from Google, and an evidentiary hearing,3 the

        district court denied Defendant’s motion and issued a lengthy opinion. JA1327-

        JA1389. First, the court stated that because it would deny Defendant’s motion on

        other grounds, it need not resolve whether Defendant had a reasonable expectation

        of privacy in the geofence data. JA1361. Nevertheless, the court offered some

        observations on this issue, including its concern that Fourth Amendment doctrine

        was “lagging behind technological innovations,” its observation that “[o]rdinarily,

        a criminal perpetrator would not have a reasonable expectation of privacy in his or

        her activities within or outside the publicly accessible bank,” and its “skepticism”

        that the third-party doctrine would apply to geofence information. JA1362-

        JA1363, JA1378.




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             Hearing witnesses included defense expert Spencer McInvaille, Google
        Location History Product Manager Marlo McGriff, Google Team Lead for Legal
        Investigations Support Sarah Rodriguez, FBI Special Agent Jeremy D’Errico, and
        TFO Hylton. JA433-JA1064.

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              Second, the court held that the warrant violated the Fourth Amendment.

        JA1364-JA1378. Regarding probable cause, the court acknowledged that “a fair

        probability may have existed that the Geofence Warrant would generate the

        suspect’s location information.” JA1369. However, drawing from cases

        addressing arrest warrants or physical searches of persons, the court found this

        probability inadequate, and it held that “probable cause demands that law

        enforcement possess ‘a reasonable ground for belief of guilt ... particularized with

        respect to the person to be searched or seized.”’ JA1367. Because the district

        court believed the warrant could not meet this standard for everyone within the

        geofence, the court held that it violated the Fourth Amendment. JA1375. The

        court also held that the warrant was insufficiently particular, concluding that the

        geofence was too large and that steps 2 and 3 of the warrant left too much

        discretion to the executing officers. JA1369, JA1376-JA1378.

              Finally, the court denied the motion to suppress based on the good-faith

        exception to the exclusionary rule. See United States v. Leon, 468 U.S. 897

        (1984); JA1381-JA1388. The court found the warrant neither facially deficient nor

        so lacking in indicia of probable cause that investigators could not rely on it.

        JA1381-JA1388. The court explained that its conclusion was bolstered by the fact

        that geofence warrants were a novel investigative technique, such that no court had

        yet ruled on their legality when TFO Hylton sought the warrant, and TFO Hylton


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        had consulted with prosecutors prior to obtaining previous geofence warrants.

        JA1382-JA1383.

              Defendant subsequently entered a conditional guilty plea to two counts,

        preserving his right to appeal the denial of his geofence suppression motion.

        JA1428, JA1432. This appeal of the district court’s denial of the geofence

        suppression motion followed.

                                     Summary of Argument

              For three separate reasons, this Court should affirm the district court’s denial

        of Defendant’s suppression motion. First, Defendant lacked any protected Fourth

        Amendment privacy interest in the two hours of location information that Google

        disclosed about his devices. Obtaining short-term location information is not a

        Fourth Amendment search under Carpenter v. United States, 138 S. Ct. 2206

        (2018), and Leaders of a Beautiful Struggle v. Baltimore Police Department, 2

        F.4th 330 (4th Cir. 2021) (en banc). In addition, Defendant disclosed his location

        to Google to obtain location-based services, and the United States therefore did not

        violate the Fourth Amendment when it obtained that information from Google.

              Second, the geofence warrant complied with the Fourth Amendment because

        it was supported by probable cause and sufficiently particular. Regarding probable

        cause, the affidavit established that a bank had been robbed, that the robber had a

        cell phone, and that there was a fair probability that Google would store evidence


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        of the robbery. As to particularity, the warrant was appropriately tailored

        temporally and geographically to collect evidence related to the robbery: it was

        limited to two hours of location information for devices that were, over a one-hour

        interval, within 150 meters of the site of the bank robbery. This circle covered the

        bank and nearby parking areas, but not major roads.

              Third, suppression of evidence in this case is not appropriate because

        investigators reasonably relied in good faith on the geofence warrant. Suppression

        is inappropriate under Leon: the warrant was not facially deficient or so lacking in

        probable cause that an investigator could not rely on it. Moreover, when TFO

        Hylton obtained the geofence warrant in 2019, a geofence warrant was a new

        investigative technique—there were no judicial opinions analyzing geofence

        warrants. It was therefore reasonable for an investigator to rely on the warrant

        after consulting with counsel about geofence warrants, obtaining prior geofence

        warrants from state judges and a United States Magistrate Judge, and then

        obtaining the warrant from a magistrate.

              Accordingly, this Court should affirm the judgment.

                                             Argument

              In order for this Court to reverse the district court, Defendant must prevail

        on three arguments: that he had a protected Fourth Amendment privacy interest in

        the information Google disclosed to the United States, that the geofence warrant


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        violated the Fourth Amendment, and that officers did not rely on the warrant in

        good faith. He prevails on none.

              This Court reviews the district court’s factual findings for clear error and its

        legal conclusions de novo, and the evidence must be viewed in the light most

        favorable to the government, the party that prevailed in the district court. United

        States v. Davis, 690 F.3d 226, 233 (4th Cir. 2012). When a claim is waived, it is

        not reviewable on appeal. United States v. Morehouse, 34 F.4th 381, 395 (4th Cir.

        2022).

              This Court may affirm “on any grounds apparent from the record.” United

        States v. Smith, 395 F.3d 516, 519 (4th Cir. 2005); see also Greenlaw v. United

        States, 554 U.S. 237, 250 n.5 (2008) (“[T]he appellee may, without taking a cross-

        appeal, urge in support of a decree any matter appearing in the record.”) (quoting

        United States v. American Railway Express Co., 265 U.S. 425, 435 (1924)). Thus,

        although the district court chose not to determine whether the geofence warrant

        invaded Defendant’s Fourth Amendment interests and held that the warrant

        violated the Fourth Amendment, this Court may affirm the district court’s denial of

        Defendant’s suppression motion either because Defendant had no protected Fourth

        Amendment interest in the geofence information or because the warrant complied

        with the Fourth Amendment.




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        I.    Defendant had no protected Fourth Amendment interests in any
              information disclosed pursuant to the geofence warrant.

              The geofence warrant information can be divided into three categories: two

        hours of Defendant’s location information, Defendant’s subscriber identity

        information, and information pertaining to other Google customers. Defendant has

        not claimed that he had a protected Fourth Amendment interest in the latter two

        categories, and any such argument would be foreclosed by controlling precedent.

        See United States v. Bynum, 604 F.3d 161, 164 (4th Cir. 2010) (holding that

        subscriber had no protected Fourth Amendment interest in subscriber identity

        information); Rakas v. Illinois, 439 U.S. 128, 133-34 (1978) (holding that Fourth

        Amendment rights “may not be vicariously asserted”).

              Nor does Defendant have any protected Fourth Amendment interests in the

        two hours of information Google disclosed about his location. The Supreme Court

        has explained that the existence of protected Fourth Amendment interests in

        location information held by a third party lies “at the intersection of two lines of

        cases”: cases addressing “a person’s expectation of privacy in his physical

        location and movements” and cases addressing “what a person keeps to himself

        and what he shares with others.” Carpenter, 128 S. Ct. at 2214-16. Here, as

        discussed below, each of these two lines of cases provides independent reasons to

        conclude that Google’s disclosure of two hours of Defendant’s location

        information did not infringe his Fourth Amendment rights. Defendant bears the
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        burden of establishing that he has a protected privacy interest in the information he

        seeks to suppress, see United States v. Daniels, 41 F.4th 412, 415 (4th Cir. 2022),

        and he has not met that burden here.

              A.     Defendant lacked protected Fourth Amendment interests
                     in two hours of information regarding his location.

              In Carpenter v. United States, 138 S. Ct. 2206, 2217 & n.3 (2018), the

        Supreme Court determined that individuals have a “reasonable expectation of

        privacy in the whole of their physical movements,” and it held “that accessing

        seven days of [a phone company’s cell-site location information] constitutes a

        Fourth Amendment search.” The Court emphasized that its decision was “a

        narrow one,” and it explicitly declined to determine whether there is a “limited

        period” for which the government can acquire cell phone location information

        without implicating the Fourth Amendment, or whether a cell tower dump

        constituted a search. Id. at 2217 n.3, 2220. In short, Carpenter recognized a

        privacy interest only in certain long-term, comprehensive location information.

              Although Carpenter declined to resolve whether obtaining less than seven

        days of cell phone location information constitutes a search, Carpenter’s reasoning

        demonstrates that obtaining two hours of location information does not. The Court

        framed the question before it as “whether the Government conducts a search under

        the Fourth Amendment when it accesses historical cell phone records that provide

        a comprehensive chronicle of the user's past movements.” Carpenter, 138 S. Ct. at
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        2212. The Court cited its previous holding from United States v. Knotts, 460 U.S.

        276, 282 (1983), that a person “on public thoroughfares has no reasonable

        expectation of privacy in his movements from one place to another,” id. at 2215,

        but it cautioned that Knotts had reserved whether this principle applied to “more

        sweeping modes of surveillance.” Id. Carpenter emphasized that long-term cell-

        site information created a “comprehensive record of the person’s movements” that

        was “detailed” and “encyclopedic.” Id. at 2216–17. It explained that “this case is

        not about ‘using a phone’ or a person’s movement at a particular time.” Id. at

        2220. Rather, the Court explained, the case concerned “a detailed chronicle of a

        person’s physical presence compiled every day, every moment, over several

        years.” Id. at 2220. By this standard, the government did not conduct a search here

        when it obtained two hours of Defendant’s location information pursuant to the

        geofence warrant.

              Leaders of a Beautiful Struggle v. Baltimore Police Department, 2 F.4th 330

        (4th Cir. 2021) (en banc) (hereinafter “Leaders”), confirmed the distinction

        between long-term and short-term location tracking. In Leaders, this Court held

        that a Baltimore aerial surveillance program, under which the city collected and

        retained for at least 45 days a “record of where everyone came and went within the

        city during daylight hours,” was a search under Carpenter. Id. at 341, 346.

        Leaders held that “Carpenter solidified the line between short-term tracking of


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        public movements—akin to what law enforcement could do ‘[p]rior to the digital

        age’—and prolonged tracking that can reveal intimate details through habits and

        patterns.” Id. at 341. Under Carpenter, “[t]he latter form of surveillance invades

        the reasonable expectation of privacy that individuals have in the whole of their

        movements and therefore requires a warrant.” Id. The 45-day surveillance period

        was not short-term because it exceeded “ordinary police capabilities”: “[p]eople

        understand that they may be filmed by security cameras on city streets, or a police

        officer could stake out their house and tail them for a time.” Id. at 345.

              Here, the United States obtained only two hours of Defendant’s location

        information. This acquisition is consistent with ordinary police capabilities

        identified by Leaders: security cameras and being tailed. The warrant’s step 1

        information is similar to security camera footage: it captured Defendant’s presence

        and movement in close proximity to the bank. JA2003. The warrant’s step 2

        information, which tracked Defendant as he drove on public roads, is similar to the

        tracking approved by the Supreme Court in Knotts. JA2008. Thus, under Leaders,

        the United States did not infringe Defendant’s Fourth Amendment interests.

        Rather than providing an encyclopedic chronicle of Defendant’s life, the

        information disclosed by Google showed his device’s location for less than half an

        afternoon.




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              Importantly, in assessing whether the government has conducted a search

        under Carpenter and Leaders, a court assesses the quantity of information accessed

        by the government, not the quantity of information possessed by the provider. This

        Court confirmed this analysis in Leaders: “Carpenter was clear on that issue: a

        search took place ‘when the Government accessed CSLI from the wireless

        carriers.’” Leaders, 2 F.4th at 344 (quoting Carpenter, 138 S. Ct. at 2219). The

        district court expressed concern that Google retains information for each user who

        opts in, JA1362, but under Carpenter and Leaders, Google’s retention of

        information about Defendant does not transform the government’s acquisition of a

        small portion of that information into a search.

              Finally, other courts have agreed that Carpenter protects only

        comprehensive, long-term location information. In United States v. Hammond,

        996 F.3d 374, 387-92 (7th Cir. 2021), the Seventh Circuit held that real-time

        tracking of a specified cell phone over a period of approximately six hours was not

        a search. In addition, other courts have held that cell tower dumps, which are

        similar to geofence warrants in that they reveal information about cellular devices

        present in a specified location at a specified time, are not Fourth Amendment

        searches. See, e.g., United States v. Adkinson, 916 F.3d 605, 611 (7th Cir. 2019);

        United States v. Walker, 2020 WL 4065980, at *8 (W.D.N.C. July 20, 2020);

        United State v. Rhodes, 2021 WL 1541050, at *2 (N.D. Ga. Apr. 20, 2021). The


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        United States did not infringe Defendant’s Fourth Amendment interests when it

        obtained two hours of his location information from Google.

              B.     Defendant lacked protected Fourth Amendment interests
                     in location information he disclosed to Google to obtain
                     location-based services.

              There is a second, independent reason why Defendant had no protected

        Fourth Amendment interests in the location information Google disclosed to the

        United States: Defendant voluntarily disclosed information about the location of

        his phone to Google to obtain location-based services. Thus, Google’s disclosure

        of that information to the government is governed by the long-standing principle

        that “the Fourth Amendment does not prohibit the obtaining of information

        revealed to a third party and conveyed by him to Government authorities.” United

        States v. Miller, 425 U.S. 435, 443 (1976).

              In cases ranging from private conversations to business records, the Supreme

        Court has repeatedly held that the Fourth Amendment does not protect information

        voluntarily revealed to a third party and then conveyed by the third party to the

        government. This principle applies to statements made in the presence of an

        informant. See Hoffa v. United States, 385 U.S. 293, 302 (1966). It applies to

        information disclosed to an accountant. See Couch v. United States, 409 U.S. 322,

        335-36 (1973). It applies to bank records. See United States v. Miller, 425 U.S.

        435, 443 (1976). It applies to dialed telephone number information. See Smith v.

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        Maryland, 442 U.S. 735, 742-44 (1979). It applies to financial records. See SEC

        v. Jerry T. O’Brien, Inc., 467 U.S. 735, 743 (1984). And in this case, this principle

        applies to the location information Defendant disclosed to Google to obtain

        location-based services.

              In Carpenter, the Supreme Court held that the third-party doctrine did not

        apply to a phone company’s cell phone location information, but the Court did not

        reject the third-party doctrine or “disturb the application of Smith and Miller.”

        Carpenter, 138 S. Ct. at 2220. Instead, Carpenter held that cell phone users do not

        voluntarily disclose their cell-site records to the phone company for three reasons:

        because the phone company collects cell-site information “without any affirmative

        act on the part of the user beyond powering up,” because “there is no way to avoid

        leaving behind a trail of location data,” and because carrying a cell phone “is

        indispensable to participation in modern society.” Id. at 2220. These three factors

        are not present for Google’s Location History service. First, as the district court

        found, Location History “is off by default,” and a user must opt into storage of

        Location History. JA1333, JA1553. In fact, Google could not obtain and store

        Defendant’s device location without his undertaking multiple affirmative acts,

        including signing in to Google on his phone, enabling the phone’s device location

        setting, enabling location reporting, and opting in to Location History. JA1554.

        Second, Defendant also had discretion to delete any or all of his Location History.


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        JA738, JA833, JA1556.4 Finally, none of the services associated with Google’s

        storage of Location History are indispensable to participation in modern society.

        In fact, approximately two-thirds of Google’s users reject those services. JA804,

        JA1555.

               Defendant’s voluntary disclosure of his phone’s location to Google is

        evident from the nature of the relationship between Google and its users: users

        must provide their devices’ location to Google to obtain location-based services.

        Courts often infer that an individual disclosed information to a third party based on

        the nature of the relationship between the individual and the third party. For

        example, in Miller, the Supreme Court did not consider Miller’s explicit

        agreements with his bank. Instead, the Court determined that Miller disclosed

        financial information to the bank by “examin[ing] the nature of the particular

        documents sought” and concluding that they were “not confidential

        communications but negotiable instruments to be used in commercial

        transactions.” Miller, 425 U.S. at 442. Similarly, in Smith v. Maryland, the Court

        held that “[a]ll telephone users realize that they must ‘convey’ phone numbers to



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             The district court noted that an unidentified Google employee once stated in
        an email that deleting data was difficult, JA1342, but the record demonstrates that
        Google informed users that they could see and delete their data. JA1564, JA2058-
        JA2059. Nothing in the record demonstrates that a user who sought to delete his
        data would be unable to do so.

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        the telephone company, since it is through telephone company switching

        equipment that their calls are completed.” Smith, 442 U.S. at 742. The Ninth

        Circuit recently applied this analysis to disclosure of location information in

        Sanchez v. Los Angeles Dep’t of Transportation, 39 F.4th 548 (9th Cir. 2022), in

        which the court rejected a Fourth Amendment challenge to a Los Angeles

        regulation mandating that e-scooter companies disclose to its transportation

        department real-time location data for every scooter. The court explained that

        when one “rents an e-scooter, he plainly understands that the e-scooter company

        must collect location data for the scooter through its smartphone applications.

        Thus, the voluntary exposure rationale fits far better here than in Carpenter.” Id. at

        559.

               The same reasoning applies here. Google customers disclose their devices’

        locations to Google to obtain services that depend on Google knowing their

        specific location, such as mapping, traffic updates, help finding their phones, and

        help with their commutes. JA764, JA1553. Google also uses location information

        to target advertisements to users via radius targeting, store visit conversions, and

        inferences drawn from Location History. JA612-JA614, JA1553, JA1555. These

        services demonstrate that Google is not merely providing a storage service for

        users to store their own location information. Based on a user’s location, Google

        provides services that are helpful to the user, to other users, to advertisers, and to


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        Google itself. In sum, a user of Google’s location services does not keep his

        location private; instead, the user shares location information with Google to

        obtain location-based services. Thus, the user’s Fourth Amendment interests are

        not infringed when Google discloses his location information to the government.

               The opt-in process necessary for Google to store Location History further

        confirms that Defendant voluntarily disclosed his device’s location to Google.

        Defendant could not have successfully opted in without Google presenting the

        supported consent flow language to him. JA1564-JA1566. 5 That language

        informed Defendant that Location History “[s]aves where you go with your

        devices,” that “[t]his data may be saved and used in any Google service where you

        were signed in to give you more personalized experiences,” and that “[y]ou can see

        your data, delete it and change your settings at account.google.com.” JA1564.

        This language set forth the core components of Google’s Location History service:

        that Google would store Defendant’s location information and that Google would

        use that information to provide services to Defendant. Defendant then clicked




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             Location History Product Manager McGriff explained that “[a] successful
        opt-in needs to be a flow that is currently supported. If we no longer support the
        flow, then that opt-in would fail silently.” JA714.

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        “TURN ON” in response, thereby agreeing to disclose his location to Google.

        JA1566.6

                Finally, Google’s Privacy Policy further supports the fact that Defendant

        voluntarily disclosed his phone’s location information to Google. Courts rely on

        privacy policies in evaluating whether a customer discloses information to a

        service provider. See, e.g., Sanchez, 39 F.4th at 559 (stating that e-scooter user

        “must agree to the operator's privacy policies,” which allow collection and storage

        of location data). Here, that Privacy Policy stated: “We collect information about

        your location when you use our services, which helps us offer features like driving

        directions for your weekend getaway or showtimes for movies playing near you.”

        JA2051. The Privacy Policy also stated that: “you can turn on Location History if

        you want traffic predictions for your daily commute.” JA2056. This language

        confirms that Google users share their location with Google in order for Google to




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              The district court questioned whether this language was sufficient because it
        did not detail the frequency with which data would be recorded, the amount of
        data, or the precision of data. JA1380. But the data that Google saved fell within
        the scope of what Defendant agreed Google would do: save where he went with
        his phone. Moreover, the Supreme Court has held that if one discloses information
        to a third party, the third party’s storage decisions lack constitutional significance.
        See Smith v. Maryland, 442 U.S. at 745 (stating that a phone company’s choice to
        store dialed telephone number information did not “make any constitutional
        difference” because the defendant “voluntarily conveyed to it information that it
        had facilities for recording and that it was free to record”).

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        provide them with location-based services. The United States did not infringe his

        Fourth Amendment interests when it obtained that information from Google.7

        II.       The geofence warrant complied with the Fourth Amendment.

                  This Court may affirm the district court’s denial of Defendant’s suppression

        motion on the basis that the warrant complied with the Fourth Amendment. A

        warrant satisfies the Fourth Amendment if it is: (1) supported by probable cause;

        (2) sufficiently particular; and (3) issued by a neutral and disinterested magistrate.

        See Dalia v. United States, 441 U.S. 238, 255 (1979). Here, the affidavit

        established a fair probability that Google would have evidence of the robbery, and

        the warrant described that evidence with mathematical precision.

                  A.    The geofence affidavit established probable cause.

                  Probable cause requires only “a fair probability, and not a prima facie

        showing, that contraband or evidence of a crime will be found in a particular

        place.” United States v. Bosyk, 933 F.3d 319, 325 (4th Cir. 2019) (quoting Illinois

        v. Gates, 462 U.S. 213, 238 (1983) (internal quotation marks omitted)). It is “not a


              The district court stated that it could not determine whether Defendant
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        voluntarily disclosed his location to Google based on the “murky” record, JA1378,
        but its analysis focused on the opt-in process for Location History and ignored the
        nature of the relationship between Google and its users: users provide their device
        location to Google to obtain location-based services. JA1378-JA1380. In
        addition, although the exact mechanism through which Defendant opted in to
        storage of Location History is uncertain, the consent flow language essential to
        opting in successfully is not. JA1564-JA1566, JA714.

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        high bar.” Id. (quoting District of Columbia v. Wesby, 138 S. Ct. 577, 586 (2018)).

        In addition, this Court does not conduct de novo review concerning the existence

        of probable cause: “the duty of a reviewing court is simply to ensure that the

        magistrate had a substantial basis for concluding that probable cause existed.”

        United States v. Hodge, 354 F.3d 305, 309 (4th Cir. 2004) (quoting Gates, 462

        U.S. at 238–39).

              Here, the affidavit in support of the warrant provided an ample basis for the

        issuing magistrate’s finding of probable cause. In particular, the affidavit

        established that: (1) an unknown subject committed an armed bank robbery at a

        particular place and time; (2) prior to the robbery, the robber held a cell phone to

        his ear and appeared to be speaking with someone; (3) the majority of cell phones

        were smartphones; (4) “[n]early every” Android phone “has an associated Google

        account,” and Google “collects and retains location data” from such devices when

        the account owner enables Google location services; and (5) Google can collect

        location information from non-Android smartphones if the devices are “registered

        to a Google account and the user has location services enabled.” JA112-JA113.

        This information gave the magistrate a substantial basis to conclude that there was

        a fair probability that Google possessed evidence related to the robbery. Indeed,

        although the district court found that the warrant lacked probable cause as to other

        users within the geofence, it did conclude that “a fair probability may have existed


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        that the Geofence Warrant would generate the suspect’s location information.”

        JA1369.

              Moreover, the Supreme Court broadly construes what may constitute

        evidence for purposes of a search warrant. In Messerschmidt v. Millender, 565

        U.S. 535, 539 (2012), police obtained a warrant for “all guns and gang-related

        material” in connection with a known gang member shooting at his ex-girlfriend.

        The Court provided multiple reasons why “all gang-related materials” could be

        seized as evidence in connection with someone shooting at his ex-girlfriend,

        including that the materials could “help to establish motive,” could be “helpful in

        impeaching [the shooter],” could be helpful in “rebutting various defenses,” and

        could “demonstrat[e] [the shooter’s] connection to other evidence.” Id. at 551-52.

              Similarly, the issuing magistrate here had multiple reasons to believe that

        location information for those present at the robbery would constitute evidence.

        Investigators could use the location information directly to reconstruct what took

        place at the crime scene at the time of the crime. They could use it to identify the

        robber and any accomplices. They could use it to identify potential witnesses and

        obtain further evidence. They could use it to corroborate and explain other

        evidence, including surveillance video. They could use it to rebut potential

        defenses raised by the robber, including an attempt by the robber to blame

        someone else for his crime. Thus, probable cause existed because the information


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        sought by the warrant was in fact evidence appropriately seized pursuant to a

        search warrant.

              The Supreme Court’s decision in Zurcher v. Stanford Daily, 436 U.S. 547

        (1978), sets forth the probable cause analysis applicable here. In Zurcher, the

        Supreme Court approved a search warrant that authorized the search of a

        newspaper’s office to seize photographs of a crime scene at which unidentified

        individuals had assaulted police officers. See id. at 551, 553-560. That warrant

        was analogous to the one here: it authorized seizure, from a third party not

        suspected of crime, of crime-scene evidence to identify perpetrators and others

        present at the scene of a crime. The Court held that “[t]he critical element in a

        reasonable search is not that the owner of the property is suspected of crime but

        that there is reasonable cause to believe that the specific ‘things’ to be searched for

        and seized are located on the property to which entry is sought.” Id. at 556. A

        search warrant “may be issued when it is satisfactorily demonstrated to the

        magistrate that fruits, instrumentalities, or evidence of crime is located on the

        premises.” Id. at 559.

              The district court found that the warrant failed to establish “particularized”

        probable cause, JA1368, but its analysis is inconsistent with the Zurcher standard.

        The court stated that “probable cause demands that law enforcement possess ‘a

        reasonable ground for belief of guilt ... particularized with respect to the person to


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        be searched or seized.’” JA1367 (citing Maryland v. Pringle, 540 U.S. 366, 371

        (2003)). But Pringle addresses whether probable cause existed for an arrest of a

        person, not the standard for obtaining a search warrant to search a specified place

        for evidence of crime. See Pringle, 540 U.S. at 374. As the Supreme Court held in

        Zurcher, “[i]n situations where the State does not seek to seize ‘persons’ but only

        those ‘things’ which there is probable cause to believe are located on the place to

        be searched, there is no apparent basis in the language of the Amendment for also

        imposing the requirements for a valid arrest—probable cause to believe that the

        third party is implicated in the crime.” Zurcher, 436 U.S. at 554.

              The district court also cited cases addressing physical searches of persons

        pursuant to warrants to search premises, including Ybarra v. Illinois, 444 U.S. 85,

        91 (1979), in which the Supreme Court held that the probable cause that supported

        a warrant to search a tavern and its bartender for drugs did not extend to a search of

        tavern patrons. JA1367. But Ybarra and its progeny explicitly address limitations

        on physical searches of persons pursuant to warrants, not the standard for searching

        property (such as the information here) for evidence. As Ybarra stated: “Where

        the standard is probable cause, a search or seizure of a person must be supported

        by probable cause particularized with respect to that person.” Ybarra, 444 U.S. at

        91 (emphasis added). The geofence warrant authorized obtaining evidence from




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        Google about a crime scene; it did not authorize the arrest, search, or seizure of any

        person.

              Ybarra is thus an exception to the general rule for search warrants, which is

        that “a lawful search of fixed premises generally extends to the entire area in which

        the object of the search may be found and is not limited by the possibility that

        separate acts of entry or opening may be required to complete the search.” United

        States v. Ross, 456 U.S. 798, 820-21 (1982). Pringle, Ybarra, and their progeny do

        not apply here because no persons were arrested, searched, or seized pursuant to

        the geofence warrant. Here, the warrant affidavit established a fair probability that

        Google had evidence of the bank robbery in its records which it accessed and used

        to provide services to its users and advertisers, and that probable cause supported

        issuance of the geofence warrant.

              Illinois v. Lidster, 540 U.S. 419 (2004), further demonstrates that the Fourth

        Amendment permits investigators to collect identity information of those present at

        crime scenes. In Lidster, the Court held that police did not violate the Fourth

        Amendment when they set up a roadblock to briefly seize all motorists at the scene

        of a hit-and-run a week after the crime, for the primary purpose of finding

        witnesses. See id. at 423, 428. The Court found that the roadblock was

        “appropriately tailored ... to fit important criminal investigatory needs” and that the

        stops “interfered only minimally with liberty of the sort the Fourth Amendment


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        seeks to protect.” Id. at 427. It would be very strange for the Fourth Amendment

        to allow physical stops, without individualized suspicion, of all persons at a crime

        scene a week after the crime, but not allow issuance of a search warrant to obtain

        direct crime-scene evidence, without the physical seizure of any person, merely

        because the crime scene information revealed the presence of persons other than

        the perpetrators.

                Although no other federal appellate court has yet considered Google

        geofence warrants, the Eighth Circuit in United States v. James, 3 F.4th 1102 (8th

        Cir. 2021), held that a series of cell tower dump warrants used to solve a series of

        robberies complied with the Fourth Amendment. Cell tower dump warrants are

        similar to geofence warrants, insofar as they require a phone company to provide

        the government with information about all cellular devices that used cell towers in

        the vicinity of a crime, but their geographic coverage is typically much larger than

        geofence warrants.8 Probable cause was stronger in this case than in James,

        because investigators there lacked direct evidence that the robber carried a cell

        phone. See id. at 1105. Nevertheless, the Eighth Circuit concluded that probable

        cause supported the tower dump warrants in James because the affidavits



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             For example, the cell-sites in Carpenter placed the defendant in sectors
        “ranging from one-eighth to four square miles.” Carpenter, 138 S. Ct. at 2218.
        The geofence here covered less than 0.03 square miles.

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        established that there was a series of crimes committed by the same individual, and

        that “there was ‘a fair probability’ that the cellular-tower records would identify

        the robber.” Id. James’s probable cause analysis supports the issuance of the

        geofence warrant in this case.

              Finally, Defendant challenges the inferences that supported the geofence

        warrant; he argues that there was “no evidence that “the robber’s data was ‘in fact’

        in Google’s Sensorvault.” Appellant Chatrie’s Opening Brief at 29 (hereinafter

        “AOB”). But all that is required for probable cause is a fair probability that

        evidence will be found in the place to be searched. See Gates, 462 U.S. at 238. In

        addition, a magistrate may “draw such reasonable inferences as he will from the

        material supplied to him by applicants for a warrant.” Id. at 240. Here, the

        magistrate’s finding of probable cause was based on a combination of specific

        facts (that the bank had been robbed and that the robber carried a cell phone) and

        reasonable inferences (that there was a fair probability that Google stored location

        evidence pertaining to this crime). Warrants commonly rely on a combination of

        specific facts and reasonable inferences, and Defendant cites no contrary case law.

        For example, in United States v. Jones, 942 F.3d 634, 639-40 (4th Cir. 2019), this

        Court held that a magistrate had made a reasonable inference that evidence of a

        defendant’s threats would be found at his home. Here, the magistrate similarly

        made a reasonable inference that Google stored evidence of the robbery.


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              B.     The geofence warrant was sufficiently particular.

              Under the Fourth Amendment, “a valid warrant must particularly describe

        the place to be searched, and the persons or things to be seized.” United States v.

        Kimble, 855 F.3d 604, 610 (4th Cir. 2017) (internal quotation marks omitted). In

        addition, the items specified to be seized pursuant to a warrant must be “no broader

        than the probable cause on which it is based.” United States v. Hurwitz, 459 F.3d

        463, 473 (4th Cir. 2006). The test “is a pragmatic one” that “may necessarily vary

        according to the circumstances and type of items involved.” United States v.

        Torch, 609 F.2d 1088, 1090 (4th Cir. 1979) (quoting United States v. Davis, 542

        F.2d 743, 745 (8th Cir. 1976)). And the particularity requirement may be satisfied

        by specifying that officers may seize evidence related to a particular crime, such as

        bank robbery. United States v. Cobb, 970 F.3d 319, 328 (4th Cir. 2020). Here, the

        geofence warrant satisfied these requirements.

              The geofence warrant specified with precision the items to be seized: two

        hours of location information associated with electronic devices that were, during

        the 30 minutes on either side of a bank robbery, within 150 meters of a specified

        point. JA116-JA117. In addition, the warrant was sufficiently particular because it

        was appropriately constrained based on location, dates, and times. The geofence

        boundary was based on specific features of the site of the robbery. It covered the

        bank and nearby parking areas, and it went up to but did not reach major roads.


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        JA117, JA940. A smaller geofence could have missed where the robber and any

        potential accomplices parked. In addition, the duration of the geofence enabled

        investigators to distinguish between the robber, potential co-conspirators, victims,

        and other witnesses. For example, investigators could determine whether the

        robber met elsewhere with others from the crime scene, either shortly before or

        after the robbery. Thus, the warrant was appropriately tailored toward its

        investigatory purpose, which was to obtain evidence to help identify and convict

        the robber and any accomplices.

              The Eight Circuit’s decision in James further confirms that the warrant here

        was not overly broad. Although tower dump warrants typically cover broader

        areas than geofence warrants, the court held that the tower dump warrants were

        appropriately “constrained—both geographically and temporally—to the robberies

        under investigation.” James, 3 F.4th at 1106. In particular, because the tower

        dumps “covered only the cellular towers near each robbery” for a “narrow and

        precise” 90-minute period, “the warrants were ‘sufficiently definite’ to eliminate

        any confusion about what the investigators could search.” Id. This reasoning

        applies here. Indeed, the location information obtained from Google was narrower

        than the location information in James. The 150-meter radius of the geofence

        warrant is smaller than most individual cellular sites, and the government obtained




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        location information regarding only19 individuals, rather than hundreds or

        thousands.

              The district court faulted the warrant because of the discretion the court

        found in the second and third steps of its three-step process, JA1376-JA1377, but

        the warrant appropriately directed officers to narrow down the list of accounts by

        comparing information from each account “against the known time and location

        information that is specific to this crime.” JA116-JA117. This requirement

        functioned as an additional limitation in what was already a sufficiently limited

        warrant. The warrant affidavit at the outset established probable cause for all the

        information that law enforcement could have obtained: identity information and

        two hours of location data for all individuals present at the site of the robbery

        during the hour of the robbery. The information specified by a warrant must be

        “no broader than the probable cause on which it is based,” Hurwitz, 459 F.3d at

        473, but officers do not violate the Fourth Amendment if they ultimately seize less

        evidence than the maximum a warrant authorizes.

              Although the investigators here could have and did narrow the information

        obtained from Google, the Fourth Amendment did not require that step because the

        geofence warrant was supported by probable cause to seize two hours of location

        and identity information for anyone at the site of the robbery during a one-hour

        interval. Rather than violating the Fourth Amendment, the three-step process


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        imposed an additional mechanism to further limit collection of information

        consistent with the needs of the investigation. As one magistrate judge explained

        in issuing a geofence warrant, “the government has established probable cause to

        seize all location and subscriber data within the geofence locations identified.

        Whether it chooses to obtain all that information, or partial information, is of no

        matter to the Court's consideration of the constitutionality of the warrant under the

        Fourth Amendment.” In re Search Warrant Application, 497 F. Supp. 3d 345, 362

        (N.D. Ill. 2020).

                Finally, even if there were a particularity problem with the second step in the

        three-step process for the geofence warrant, the appropriate remedy would at most

        be to sever the paragraphs of the warrant mandating the second step and to

        suppress second-step information.9 “Under the severance doctrine, the

        constitutionally infirm portion of a warrant—usually for lack of particularity or

        probable cause—is separated from the remainder and evidence seized pursuant to

        that portion is suppressed; evidence seized under the valid portion may be

        admitted.” Cobb, 970 F.3d at 330 (internal quotation marks omitted).

                Here, the first step of the geofence warrant targeted narrow and clearly



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             Under Bynum, 604 F.3d at 164, Defendant lacks a reasonable expectation of
        privacy in subscriber information obtained under step 3 of the geofence warrant,
        and he therefore lacks standing to challenge that portion of the warrant.

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        defined information, and it had no discretionary component. In addition, first-step

        information alone was sufficient for investigators to recognize that Defendant’s

        account likely belonged to the robber. JA966-JA967. Thus, even if this Court

        were to sever the warrant and suppress second-step information from Google, the

        subsequent investigation of Defendant would not be the fruit of the poisonous tree.

              Defendant complains that the warrant required Google to filter its entire

        Location History database to find location information responsive to the warrant,

        which he analogizes to a search of a multi-unit building, AOB at 27-29, but this

        objection is without merit. In the context of geofence warrants, “the relevant

        question is not how Google runs searches on its data, but what the warrant

        authorizes the Government to search and seize.” United States v. Rhine, 2023 WL

        372044, at *28 (D.D.C. Jan 24, 2023) (upholding geofence warrant). Otherwise,

        “no doubt many search warrants and most third-party subpoenas for protected

        records would be unconstitutionally overbroad because they necessarily would

        require the third party to search some group of records larger than those

        specifically requested, whether they reside in a file cabinet or on a server.” Id.

        Filtering a large database to find a narrow set of information is not new: for

        example, in response to a subpoena, a phone company may review every call made

        by all its customers in order to find calls made to a specified phone number. See

        Ameritech Corp. v. McCann, 403 F.3d 908, 910 (7th Cir. 2005).


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              The nature and uses of Google’s Location History database confirm that it is

        appropriate for a warrant to seek a narrow subset of information from within that

        database. Google accesses this information freely to provide users and advertisers

        with location-based services. Geofence warrants are similar to radius targeting

        advertising and measurement of store visit conversions, as they involve

        determinations of whether users’ devices are in specific locations at specific times.

        The Fourth Amendment does not prohibit Google, in response to a warrant, from

        filtering information in a manner similar to the way it uses the same information

        for its own business purposes.

              Moreover, Google’s filtering of a large set of data to comply with the

        geofence warrant is a result of Google’s internal data storage practices, not an

        overbroad warrant. It would be possible for Google to create an additional

        Location History database indexed by location. JA819-JA820. Such a database

        would enable Google to comply with a geofence warrant—and produce the same

        data that Google currently produces—without filtering the data of all customers.

        The constitutionality of a search warrant does not depend on a service provider’s

        internal data-storage practices, which are invisible to customers and the

        government alike. For example, in Smith v. Maryland, the Supreme Court held

        that a phone company’s internal practices regarding storage of dialed number

        information did not “make any constitutional difference.” Smith, 442 U.S. at 745.


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        Here, the appropriate measure for the breadth of the geofence warrant is the

        records sought by the warrant, not the size or organization of Google’s Location

        History database.

              Defendant asserts that the warrant left too much discretion to Google, AOB

        at 36, but again he is mistaken. The warrant left no discretion to Google, and

        Defendant points to no language in the warrant to the contrary. It is true that when

        a third-party provider is required to disclose records pursuant to any warrant, it

        may refuse and has a due process right to challenge the warrant. See, e.g., In re

        Application, 610 F.2d 1148, 1156-57 (3d Cir. 1979). But that possibility provides

        no evidence that the warrant itself was insufficiently particular.

              Defendant argues that the warrant was insufficiently particular because

        investigators “did not have any suspects” and “valid warrants do not work that

        way.” AOB 37. Again, Zurcher demonstrates that he is wrong. A warrant may be

        used to investigate crime before officers identify a suspect, provided that “it is

        satisfactorily demonstrated to the magistrate that fruits, instrumentalities, or

        evidence of crime is located on the premises.” Zurcher, 436 U.S. at 559. Most

        warrants may involve seizure of evidence from the person suspected of crime, but

        under Zurcher, the Fourth Amendment does not forbid using a warrant to solve a

        crime, and Defendant points to no case to the contrary. See United States v. Long,

        774 F.3d 653, 659 (10th Cir. 2014) (“And we know of no authority that officers


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        cannot search a place where there is likely to be contraband or evidence of a crime

        unless they can identify the likely perpetrator.”).

               Defendant references “First Amendment concerns” with the warrant, AOB

        at 35, but Zurcher held that the Fourth Amendment standards of probable cause

        and particularity govern even warrants that raise significant First Amendment

        concerns. See Zurcher, 436 U.S. at 565 (“courts apply the warrant requirements

        with particular exactitude when First Amendment interests would be endangered

        by the search”). Here, Defendant cannot demand any exacting scrutiny of the

        geofence warrant merely because he robbed a bank near a church, because Fourth

        Amendment rights may not be vicariously asserted. See Rakas, 439 U.S. at 133-

        34. In any event, the geofence warrant satisfied the First and Fourth Amendments

        under the standards of Zurcher because it was issued based on probable cause and

        specified its objects with particularity.

        III.   The good-faith doctrine precludes suppression.

               Even if Defendant could identify a Fourth Amendment flaw in the search

        warrant, and even if Defendant could establish a protected Fourth Amendment

        interest in the information disclosed by Google, suppression would not be an

        appropriate remedy. Suppression is a remedy of “last resort,” to be used for the

        “sole purpose” of deterring future Fourth Amendment violations, and only when

        the deterrence benefits of suppression “outweigh its heavy costs.” Davis v. United

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        States, 564 U.S. 229, 236-37 (2011). “The fact that a Fourth Amendment violation

        occurred—i.e., that a search or arrest was unreasonable—does not necessarily

        mean that the exclusionary rule applies.” Herring v. United States, 555 U.S. 135,

        140 (2009). “To trigger the exclusionary rule, police conduct must be sufficiently

        deliberate that exclusion can meaningfully deter it, and sufficiently culpable that

        such deterrence is worth the price paid by the justice system.” Id. at 144.

              A.     TFO Hylton reasonably relied on the geofence warrant.

              Suppression is inappropriate under the good-faith analysis of United States

        v. Leon, 468 U.S. 897 (1984). When officers act in “objectively reasonable

        reliance on a subsequently invalidated search warrant” obtained from a neutral

        magistrate, “the marginal or nonexistent benefits produced by suppressing

        evidence … cannot justify the substantial costs of exclusion.” Id. at 922. Leon

        identified four circumstances in which an officer’s reliance on a warrant would not

        be objectively reasonable: (1) when “an affidavit [is] so lacking in indicia of

        probable cause as to render official belief in its existence entirely unreasonable”;

        (2) when “a warrant [is] so facially deficient—i.e., in failing to particularize the

        place to be searched or the things to be seized—that the executing officers cannot

        reasonably presume it to be valid”; (3) when “the issuing magistrate wholly

        abandoned his judicial role”; and (4) when the issuing judge “was misled by

        information in an affidavit that the affiant knew was false or would have known

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        was false except for his reckless disregard of the truth.” Leon, 468 U.S. at 923;

        United States v. Perez, 393 F.3d 457, 461 (4th Cir. 2004). These circumstances are

        not present in this case.

              1.     The warrant was not so lacking in probable cause as to render reliance
                     on it unreasonable.

              Defendant argues that the warrant was based on a “bare bones” affidavit and

        “completely devoid” of probable cause, AOB at 23, but the affidavit demonstrates

        otherwise. As an initial matter, “the threshold for establishing this exception is a

        high one” because “[o]fficers executing warrants are not often expected to question

        the conclusions of an issuing authority.” United States v. Seerden, 916 F.3d 360,

        367 (4th Cir. 2019) (quoting Messerschmidt, 565 U.S. at 547). As explained

        above, the warrant was supported by probable cause because the affidavit

        established that the bank robber had used a cell phone, and it explained why there

        was a fair probability that Google would store cell phone users’ location

        information. See supra at 29-33. In addition, given the layout of the roads and

        parking areas surrounding the bank, the 150-meter radius of the geofence was

        reasonably tailored to collect evidence of the robbery. See supra at 37-44. That is

        sufficient to show that TFO Hylton’s reliance on the warrant was reasonable.

              As previously explained, Defendant’s numerous additional objections to the

        probable cause that supported the warrant lack merit, and for the same reasons,

        TFO Hylton reasonably relied on the warrant. See supra at 32-36. First,
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        Defendant cites Pringle, Ybarra, and related cases, AOB at 26, but the probable

        cause standards of Pringle and Ybarra do not apply to a geofence warrant because

        a geofence warrant does not involve an arrest, search, or seizure of a person. See

        supra at 32-34. But even if this Court ultimately decides that Pringle and Ybarra

        govern geofence warrants, TFO Hylton could reasonably have relied on the

        warrant, given the probable cause standard of Zurcher and the lack of case law

        applying Pringle and Ybarra to geofence warrants.

                 Second, although Defendant analogizes Google to a multi-unit building,

        AOB at 27, the warrant appropriately required Google to disclose particular

        information. See supra at 41-43. Moreover, given the lack of contrary precedent,

        it was not unreasonable for TFO Hylton to rely on the warrant based on the actual

        information sought by the warrant, rather than on Google’s internal filtering

        processes.10

                 Third, Defendant challenges the inferences that supported the geofence

        warrant, AOB at 29, but his challenge is meritless because a magistrate may “draw



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                Defendant also complains that although “the warrant ostensibly sought data
        about people around the time of the bank robbery,” it listed Google as the place to
        be searched, “almost a month after the robbery.” AOB at 28. On this point, the
        warrant is correct about the place to be searched and things to be seized: like the
        warrant in Zurcher, which authorized a search of a newspaper for evidence of a
        crime that occurred elsewhere, the warrant here was properly directed to Google,
        as it too held evidence of a crime that occurred elsewhere.

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        such reasonable inferences as he will from the material supplied to him by

        applicants for a warrant.” Gates, 462 U.S. at 240; see supra at 36. Here, where the

        probable cause that supported the warrant was based on a combination of specific

        facts (including that the robber carried a cell phone) and reasonable inferences

        regarding why Google would store evidence of the phone’s location, TFO Hylton’s

        reliance on the warrant was reasonable.

              2.     The warrant was not facially deficient.

              Nor was the warrant so facially deficient that officers could not reasonably

        rely on it. See supra at 37-44. Defendant asserts that it “failed to limit the data

        searched and seized,” AOB at 34, but in fact it was specifically tailored in both

        time and space. The warrant was limited to disclosure of location information over

        a two-hour interval, as well as accompanying identity information, for devices

        present in a 150-meter radius at the site of the robbery during a one-hour interval.

        Those limitations are more than sufficient for an officer to reasonably rely on the

        facial validity of the warrant.

              Nor did the warrant’s further requirement that officers attempt to narrow

        down the information obtained from Google render TFO Hylton’s reliance on the

        warrant unreasonable. See supra at 39-40. This requirement functioned as an

        additional limitation on an already limited warrant. There was probable cause to

        obtain identity information and two hours of location data for all individuals


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        present at the site of the robbery during the hour of the robbery, and so

        investigators’ further limiting the information collected within those narrow

        parameters is consistent with the Fourth Amendment. At a minimum, the warrant

        was therefore not so facially deficient that officers could not reasonably rely on it.

              3.     The magistrate did not abandon his judicial role.

              Defendant asserts that the magistrate abandoned his judicial role, but his

        argument simply repeats his meritless assertions that the warrant was lacking in

        probable cause and particularity. AOB at 38-39. Defendant cites Lo-Ji Sales v.

        New York, 442 U.S. 319 (1979), but unlike here, that case provides an example of

        what it means for a magistrate to abandon his judicial role: the magistrate there

        accompanied officers executing the warrant and determined what could be seized,

        thereby becoming “a member, if not the leader, of the search party which was

        essentially a police operation.” Id. at 327. Here, the magistrate stayed within his

        judicial role—he reviewed the affidavit and issued the search warrant.

        Furthermore, for the reasons discussed previously, the warrant was not facially

        deficient or so lacking in probable cause that investigators’ reliance on it was

        unreasonable. See supra at 29-44.

              4.     Defendant waived any Franks challenge to the warrant.

              Defendant argues for suppression based on alleged omissions from the

        affidavit, AOB at 32-33, but Defendant waived this argument below, and he may


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        not raise it on appeal. “A party who identifies an issue, and then explicitly

        withdraws it, has waived the issue.” United States v. Robinson, 744 F.3d 293, 298

        (4th Cir. 2014) (quoting United States v. Rodriguez, 311 F.3d 435, 437 (1st Cir.

        2002)). “And when a claim is waived—as opposed to forfeited—it is not

        reviewable on appeal, even for plain error.” Morehouse, 34 F.4th at 395 (internal

        quotation marks omitted).

              Under Franks v. Delaware, 438 U.S. 15 (1978), omissions from a warrant

        provide a basis for suppression when a defendant proves “the affiant intentionally

        or recklessly omitted material information from the affidavit.” United States v.

        Pulley, 987 F.3d 370, 376 (4th Cir. 2021). Below, in his final brief supporting his

        suppression motion, Defendant explicitly disclaimed reliance on Franks: “While

        Mr. Chatrie has not and is not raising a Franks claim, the misleading information

        in the warrant application and material information the police omitted from the

        warrant certainly reinforces the conclusion that the Court should not apply the

        good-faith exception in this case.” JA1115. On appeal, he fails to acknowledge

        his waiver, and instead argues that “[t]his Court could also find that Det. Hylton

        recklessly omitted material information in violation of Leon and Franks v.

        Delaware.” AOB at 11 n.2 and 32 n.5. Because Defendant waived reliance on

        Franks, this Court must reject his attempt to raise it now.




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              Moreover, even if Defendant had not waived his Franks argument, it is

        without merit. The Defendant faults TFO Hylton for not informing the magistrate

        about Google’s internal data filtering processes, AOB at 32-33, but TFO Hylton

        lacked prior knowledge about those facts, JA1023, and Google’s internal data

        processing lacks Fourth Amendment significance. See supra at 41-43. Defendant

        also faults TFO Hylton for not disclosing “the true scope of the number of people

        to be searched and true boundaries of the ‘geofence,’” AOB at 33, but the warrant

        did disclose its boundaries, and there was no way for TFO Hylton to know ahead

        of time exactly how many users would fall within it. And to the extent that

        Defendant is arguing that the affidavit should have addressed potential

        inaccuracies in Google’s location information, the fact that there is imprecision in

        cell phone location measurements is common knowledge, and TFO Hylton could

        reasonably have expected the issuing magistrate to be aware of that fact. Nor

        would potential inaccuracies in location data affect the existence of probable

        cause—potential inaccuracies would ultimately go to the weight of location




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        information at trial, not its admissibility. 11 In sum, the record does not support

        Defendant’s allegation that TFO Hylton “appeared to have no real understanding

        of geofence warrants.” AOB at 31. TFO Hylton chose appropriate temporal and

        physical bounds for the geofence, supported the warrant with probable cause, and

        obtained evidence from Google within the scope of the warrant.

                 5.    The geofence warrant was not a general warrant.

                 The geofence warrant was not a general warrant, as it was supported by

        probable cause and specified its object with particularity. See supra at 29-44. In

        addition, Defendant errs by attempting to invent a new rule to avoid Leon’s good-

        faith analysis: Defendant asserts that good-faith doctrine should not apply where a

        court deems a warrant to be a “general warrant.” AOB at 46-49. But the good-

        faith exception depends on whether the officer reasonably relied on a warrant, not

        on how the reviewing court labels it. Defendant cites case like United States v.

        George, 975 F.2d 72, 77-78 (2d Cir. 1992), in which the court suppressed evidence



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              Defendant also exaggerates the actual extent of the uncertainty in Google’s
        location measurements. He emphasizes that in Step 1, a single measurement point
        for one device had an error radius of 387 meters. AOB at 7. But that same device
        had another measurement 23 seconds earlier at the same latitude and longitude
        coordinates and an error radius of only 87 meters, entirely inside the geofence.
        JA2104. As FBI Special Agent D’Errico explained, Google location data of this
        nature (two records close in time with the same center point, but a larger second
        display radius) indicates that the device is moving. JA948-JA949. The uncertainty
        associated with the second point does not affect the accuracy of the first.

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        from a warrant it called a general warrant. But George explicitly suppressed

        evidence based on Leon’s framework: it found the warrant “so facially deficient”

        that officers could not reasonably rely on it. Id. at 77. Where the fruits of a

        warrant are not suppressible under Leon, it would be inconsistent with Leon to

        suppress evidence on the basis that the court describes the warrant as a “general

        warrant.”

              B.     TFO Hylton reasonably relied on a warrant and
                     consulted with counsel before using a new investigative
                     technique.

              When TFO Hylton sought the warrant in this case, geofence warrants were a

        new investigative technique, and there were no judicial opinions analyzing them

        under the Fourth Amendment. In United States v. McLamb, 880 F.3d 685 (4th Cir.

        2018), this Court rejected suppression in analogous circumstances. McLamb held

        that when considering a motion to suppress the fruits of a novel investigative

        technique, suppression was inappropriate where the investigating officer consulted

        with counsel and then sought a warrant:

              But in light of rapidly developing technology, there will not always be
              definitive precedent upon which law enforcement can rely when
              utilizing cutting edge investigative techniques. In such cases,
              consultation with government attorneys is precisely what Leon’s
              ‘good faith’ expects of law enforcement. We are disinclined to
              conclude that a warrant is ‘facially deficient’ where the legality of an
              investigative technique is unclear and law enforcement seeks advice
              from counsel before applying for the warrant.

        McLamb, 880 F.3d at 691.
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              Here, TFO Hylton did what this Court expects under McLamb. He

        consulted with prosecutors about geofence warrants before seeking both state and

        federal geofence warrants. JA1021-JA1022. He had previously obtained

        geofence warrants from both state judges and a United States Magistrate Judge.

        JA1020-JA1021. No prosecutor or judge had ever found a problem with these

        warrants. JA1021-JA1022. In this investigation, he then sought and obtained a

        search warrant from a state magistrate. In sum, he behaved reasonably for an

        investigator seeking to employ a new investigative technique.

              Defendant objects that TFO Hylton had received no training on geofence

        warrants, AOB at 30, but there is no indication in McLamb that the agents had

        received training on darknet child pornography warrants. Indeed, such trainings

        may not exist when a new investigative technique first arises. McLamb calls for

        consultation with prosecutors and then seeking a warrant, not meeting a

        bureaucratic training requirement. Consulting directly is an effective form of

        training, even if it is not officially categorized as such. As the district court

        recognized, TFO Hylton did what McLamb calls for, and the good-faith exception




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        therefore applies.12

                 Recent judicial opinions provide further evidence that TFO Hylton’s reliance

        on the warrant was reasonable: numerous judges have issued or upheld geofence

        warrants, and if they have all been mistaken, it was reasonable for TFO Hylton to

        be mistaken as well. See United States v. Workman, 863 F.3d 1313, 1321 (10th

        Cir. 2017) (stating that if eight federal judges were mistaken in upholding a

        particular warrant, investigators “could reasonably have made the same mistake”).

        United States Magistrate Judges have issued opinions explaining why they issued

        geofence warrants. See, e.g., In re Search Warrant Application, 497 F. Supp. 3d

        345 (N.D. Ill. 2020); In re Search of Information, 579 F. Supp. 3d 62 (D.D.C. Dec.

        30, 2021). District courts have denied geofence suppression motions and held that

        the geofence warrants complied with the Fourth Amendment. See Rhine, 2023 WL

        372044, at *32; United States v. Anthony, No. 1:21-CR-128, ECF No. 125 at 31

        (W.D. Mich. Mar. 1, 2022) (orally denying motion to suppress ten geofence

        warrants and stating “the warrants challenged here with respect to the geofences at


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               Defendant objects that TFO Hylton consulted with prosecutors for the prior
        geofence warrants, but the record demonstrates that he discussed a new
        investigative technique—geofence warrants—with prosecutors, and he was never
        told that they were illegal. JA1021-JA1022. Defendant further objects that TFO
        Hylton had not yet received data from Google in response to his prior geofence
        warrants, AOB at 41, but that does not affect the fact that Hylton knew that other
        judges, including a United States Magistrate Judge, had considered and approved
        his similar geofence warrant applications. JA1020-JA1021.

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        issue do satisfy traditional probable cause and particularity standards,” except for

        one state warrant that was “a little sparse on some of the information regarding

        social media,” but still sufficient for Leon good faith). And the Eighth Circuit

        approved cell tower dump warrants based on reasoning that supports geofence

        warrants. James, 3 F.4th at 1105-06. If all of these courts have erred, TFO Hylton

        could reasonably have made the same mistake and reasonably relied on the

        magistrate’s decision to issue the warrant.

                                             Conclusion

              For the foregoing reasons, this Court should affirm the denial of Defendant’s

        motion to suppress.

                                                  Respectfully submitted,

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                                            By:                     /s/

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                            Statement Regarding Oral Argument

              The United States does not oppose Defendant’s request for oral argument.




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                                    Certificate of Compliance

              I certify that this brief was written using 14-point Times New Roman

        typeface and Microsoft Word 2016.

              I further certify that this brief does not exceed 13,000 words (and is

        specifically 12845 words) as counted by Microsoft Word, excluding the parts of

        the brief exempted by Fed. R. App. P. 32(f).

              I understand that a material misrepresentation can result in the Court’s

        striking the brief and imposing sanctions.



                                                              /s/
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